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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


NAU COUNTRY INSURANCE                                Case No. 1:23-cv-00127
COMPANY,
                                                     Hon. Janet T. Neff
       Plaintiff,                                    U.S. District Court Judge

v.                                                   Hon. Ray Kent
                                                     U.S. Magistrate Judge
FRANK M. WOOD, as the Director
of the National Appeals Division,
and ALT’S DAIRY FARM, LLC,

      Defendants.
_________________________________/

                    DEFENDANT FRANK M. WOOD’S MOTION TO STAY

       Defendant Frank M. Wood, Director of the National Appeals Division of the U.S.

Department of Agriculture (USDA), in his official capacity and by and through his attorneys, Mark

Totten, United States Attorney for the Western District of Michigan, and Laura A. Babinsky,

Assistant United States Attorney, moves this Court to stay the summary judgment briefing

schedule pending its decision on his anticipated motion to remand. The basis for this motion is set

forth in the accompanying memorandum.

       WHEREFORE, Defendant Frank M. Wood respectfully requests that this Court stay the

summary judgment briefing schedule pending its decision on the anticipated motion to remand.
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                                          Respectfully submitted,

                                          MARK TOTTEN
                                          United States Attorney


Dated: October 26, 2023                   /s/ Laura A. Babinsky
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